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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO

SIEMBRA FINCA CARMEN, LLC.,

       Plaintiff,

       v.
                                                 Civil No. 18-1783 (CCC/BJM)
SECRETARY OF THE DEPARTMENT OF
AGRICULTURE OF PUERTO RICO, et
al.,

       Defendants.


                             OPINION AND ORDER

      Pending before the Court is Plaintiff Siembra Finca Carmen, LLC.’s (“SFC”)

Motion for Preliminary Injunction. Docket No. 2. SFC’s motion seeks to enjoin Puerto

Rico Department of Agriculture (“PRDA”) from enforcing local law and regulations,

as they are expressly preempted by the Plant Protection Act (“PPA”), 7 U.S.C. §

7756(a) and (b). Docket No. 2 at 1. Such motion was referred to the United States

Magistrate Judge Bruce J. McGiverin for a Report and Recommendation. Docket No.

25.

       Judge McGiverin’s Report and Recommendation, Docket No. 39, remains

unopposed and it is hereby ADOPTED in its entirety. Upon de novo review, the

undersigned has reviewed and considered the same, as well as reviewed the

pleadings of record. In light of this, the undersigned is in full accord with Judge

McGiverin’s ratio decidendi and recommendation as to the result of this case.

Judgement will be entered accordingly.

      SO ORDERED.

      At San Juan, Puerto Rico, on February 4, 2020.

                                                s/Gustavo A. Gelpí
                                                GUSTAVO A. GELPÍ
                                                Chief United States District Judge
